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                    United States District Court
                     District of Massachusetts

                                    )
Michael Boria,                      )
                                    )
          Plaintiff,                )
                                    )
          v.                        )
                                    )     Criminal Action No.
United States of America,           )     00-cr-40024-NMG
                                    )
          Defendant.                )
                                    )
                                    )


                          MEMORANDUM & ORDER

GORTON, J.

     Michael Boria (“Boria” or “petitioner”) contends that he

was sentenced pursuant to an unconstitutionally vague provision

of the United States Sentencing Guidelines (“the Sentencing

Guidelines”) under Johnson v. United States, 135 S.Ct. 2551

(2015).   Pending before the Court is Boria’s motion to correct

his sentence pursuant to 28 U.S.C. § 2255 (Docket No. 159).

I.   Factual Background

     In 2001, a four-day jury trial resulted in Boria’s

conviction on five counts of distribution of heroin and two

counts of distribution of methamphetamine in violation of

21 U.S.C. § 841(a)(1).    At his sentencing in March, 2003, the

Court found that Boria qualified for an enhanced offense level

under the career offender provision of the Sentencing


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Guidelines. U.S.S.G. § 4B1.1 (“the Career Offender

enhancement”).

      The Court determined that Boria had a base offense level of

32 which was increased by 2 levels pursuant to the Career

Offender enhancement resulting in a total offense level of 34.

The Court also scored 31 criminal history points which placed

the defendant in Criminal History Category VI (two and one-half

times over).

      Boria’s total offense level and criminal history category

yielded a guidelines sentencing range of 262-327 months.           The

government moved for an upward departure based on Boria’s

extensive criminal history which this Court denied.          The Court

then sentenced Boria to the high-end sentence of 327 months

imprisonment, followed by five years of supervised release.

II.   Procedural Background

      Boria appealed to the United States Court of Appeals for

the First Circuit, which affirmed his conviction and sentence

(Docket No. 123).    In 2005, he filed his first § 2255 motion to

vacate claiming ineffective assistance of counsel and Apprendi

error, which this Court denied (Docket No. 125).         In January,

2015, Boria filed a motion for reduction of sentence pursuant to

18 U.S.C. § 3582(c)(2) and U.S.S.G. Amendment 782, which this

Court also denied (Docket No. 151).

      In June, 2016, Boria filed the instant § 2255 petition with

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this Court (Docket No. 159).     The petition was stayed while

Boria applied to the First Circuit for leave to file a second

or successive § 2255 petition (Docket No. 162).        The First

Circuit granted Boria’s application in November, 2017,

(Docket No. 163) and this Court ordered briefing on the petition

(Docket No. 166).

III. Statutory Background

    Boria was convicted under 21 U.S.C. § 841(a)(1).          The

applicable Sentencing Guideline for a conviction under

§ 841(a)(1) is U.S.S.G. § 2D1.1.      Boria also qualified for the

Career Offender enhancement because his offense involved a

controlled substance and the Court determined he had the

requisite prior criminal offenses. U.S.S.G. § 4B1.1

    The Career Offender enhancement provides that a Court shall

enhance a defendant’s offense level if the instant offense of

conviction is a “controlled substance offense” and the defendant

has prior convictions for one or more felony “controlled

substance offense[s]” or “crime[s] of violence.” Id.         A “crime

of violence” under § 4B1.1 incorporates the definition of that

term in § 4B1.2.    At the time of Boria’s sentencing, an offense

qualified as a crime of violence under § 4B1.2 if it was

punishable by at least one year imprisonment and 1) involved the

use, actual, attempted or threatened, of physical force, 2) was

one of several enumerated offenses or 3) qualified under the

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“residual clause” which covered offenses that

      otherwise involve[d] conduct that present[ed] a
      serious potential risk of physical injury to
      others.

(“the Career Offender residual clause”) § 4B1.2.

      At sentencing, the Court found that Boria qualified for the

Career Offender enhancement because he committed a controlled

substance offense and had four other felony convictions that

qualified as crimes of violence under § 4B1.2: robbery (under

California law) and armed robbery, assault with intent to rob

and assault and battery with a deadly weapon (under

Massachusetts law).

IV.   Motion To Correct Sentence Under § 2255

      A.   Legal Standard

      A prisoner in federal custody may collaterally attack his

sentence under 28 U.S.C. § 2255.       Section 2255 contemplates four

bases on which a federal prisoner may obtain relief:

      (1) that the sentence was imposed in violation of the
      Constitution or laws of the United States; (2) that
      the court was without jurisdiction to impose the
      sentence; (3) that the sentence was in excess of the
      maximum authorized by law; or (4) that the sentence is
      otherwise subject to collateral attack.

Damon v. United States, 732 F.3d 1, 3 (1st Cir. 2013) (internal

citations omitted).     The burden of proof is on the

petitioner. Wilder v. United States, 806 F.3d 653, 658 (1st Cir.

2015).

      Generally, a federal prisoner challenging his sentence

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under § 2255 may not rely on a new rule of constitutional law

that was announced after his conviction became

final. Butterworth v. United States, 775 F.3d 459 (1st Cir.

2015).    The Supreme Court has recognized two categories of

decisions that fall outside of that general bar on

retroactivity: “new substantive rules” and “watershed rules of

criminal procedure.” Welch v. United States, 136 S.Ct. 1257,

1264, (2016) (citing Teague v. Lane, 489 U.S. 288 (1989)).

    A motion to vacate a sentence must be filed within one year

of the date that sentence became final. § 2255(f)(1); Bucci v.

United States, 662 F.3d 18, 29 (1st Cir. 2011).        There is an

exception that treats a motion as timely if filed within one

year of

    the date on which the right asserted was initially
    recognized by the Supreme Court, if that right has
    been newly recognized by the Supreme Court and made
    retroactively applicable to cases on collateral
    review.

28 U.S.C. § 2255(f)(3).

    B.     Application

    The government does not dispute that, under current First

Circuit law, if the Career Offender residual clause was

unconstitutional at the time of Boria’s sentence, Boria had only

one conviction that qualified as a “crime of violence” under

§ 4B1.2, and therefore was not a career offender.

    The government nonetheless argues that Boria’s petition

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should be denied because it is untimely and procedurally

defaulted.

          1.    Timeliness

    Boria’s sentence became final in May, 2004.         He filed this

petition 12 years later in June, 2016.       Boria submits that his

petition is nevertheless timely because he filed it within one

year of the seminal decision of the United States Supreme Court

which recognized the right he asserts in Johnson v. United

States, 135 S.Ct. 2551 (2015) (“Johnson II”).        The government

responds that Boria’s petition is untimely because 1) it rests

on a new right not recognized by the Supreme Court in Johnson II

and 2) even if Johnson II applies, it cannot apply retroactively

to Boria’s case on collateral review.

                a. Applicability of Johnson II

    In Johnson II, the Supreme Court considered the

constitutionality of the residual clause of the Armed Career

Criminal Act of 1984 (“ACCA”), 18 U.S.C. § 924(e)(2)B).          Johnson

II, 135 S.Ct. at 2557.    The ACCA applies to an individual

convicted of being a felon in possession of a firearm under 18

U.S.C. § 922(g) and mandates an increase in sentence when the

defendant has been convicted of three or more “serious drug

offense[s]” or “violent felon[ies]”. § 924(e)(1).

    Prior to Johnson II, a “violent felony” was defined to

include any crime punishable by imprisonment for a term

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exceeding one year that 1) involved actual, attempted or

threatened use of physical force, 2) falls within a list of

certain enumerated offenses or 3) is an offense that

    otherwise involve[d] conduct that present[ed] a
    serious potential risk of physical injury to another

(“the ACCA residual clause”) § 924(e)(2)(B).

    The Supreme Court in Johnson II found the ACCA residual

clause problematic because it resulted in “indeterminacy about

how to measure the risk posed by a crime” combined with

“indeterminacy” about the level of risk required for a crime to

qualify as a “violent felony.” Id. at 2558.        The Court concluded

that the clause created more unpredictability and arbitrariness

than was permissible under the Due Process Clause of the Fifth

Amendment of the United States Constitution. Id.

    Thereafter, the Court determined that the rule it

announced in Johnson II was a new substantive rule because

it altered the “range of conduct or the class of persons

that the law punishes” by restricting a court’s ability to

sentence a defendant pursuant to the ACCA residual clause.

Welch v. United States, 136 S.Ct. 1257, 1264-65 (2016).          As

a result, the Court held that Johnson II applied

retroactively to cases on collateral review.        Id.

    Here, Boria contends that he is entitled to have his

sentence vacated because it was predicated on the Career



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Offender residual clause.     Boria asserts that Johnson II,

made retroactively applicable by Welch, applies to the

Career Offender residual clause with equal force because

that clause is identical to the ACCA residual clause found

unconstitutional in Johnson II.

    The Supreme Court in Beckles v. United States

considered the applicability of Johnson II to a sentence

imposed pursuant to the Career Offender residual clause

after the Sentencing Guidelines were made “advisory” by the

Supreme Court in United States v. Booker, 543 U.S. 220

(2005). Beckles, 137 S.Ct. 886, 895-97 (2017).        The Court

declined to apply Johnson II to vacate the petitioner’s

sentence reasoning that the post-Booker “advisory

[Sentencing] Guidelines are not subject to vagueness

challenges.” Id. at 894, 896-97.      Whereas the ACCA residual

clause fixed a higher range of sentences in an

impermissibly vague manner, the advisory Sentencing

Guidelines “merely guide the exercise of a court’s

discretion” in fixing an appropriate sentence. Id. at 892.

The Court held, therefore, that the post-Booker advisory

Sentencing Guidelines did not implicate notice and

arbitrariness, “the twin concerns underlying the vagueness

doctrine.” Id. at 894.



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    Unlike the petitioner in Beckles, Boria was sentenced

pursuant to the pre-Booker Career Offender residual clause,

when the Sentencing Guidelines were considered mandatory

and “fix[ed] a permissible range of sentences.” Id. at 892.

Justice Sotomayor, in her concurring opinion in Beckles

emphasized that the majority’s opinion did not address

whether Johnson II applied to pre-Booker sentences pursuant

to the Career Offender residual clause. Id. at 903 n.4

(Sotomayor, J., concurring in judgment).

    The First Circuit addressed the applicability of

Johnson II post-Beckles to pre-Booker sentences in Moore v.

United States, 871 F.3d 72 (1st Cir. 2017).        In Moore, the

petitioner sought to certify a second or successive § 2255

petition. Id. at 81-84.    The petition relied on Johnson II,

which petitioner argued, much like Boria argues in the case

at bar, invalidates the pre-Booker Career Offender residual

clause. Id. at 74.    The court held that the petitioner made

a prima facie showing that his petition relied on a new

rule of law made retroactively applicable by the Supreme

Court. Id. at 80.    In doing so, the First Circuit rejected

the very characterization of Johnson II proffered by the

government here, which was also rejected by this Court in

United States v. Roy, 282 F. Supp. 3d 421, 426-27 (2017).

As this Court explained in Roy,

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    [The rule from Moore is that] [i]n Johnson II,
    the Supreme Court held that the residual clause
    of the ACCA is too vague to provide a standard,
    consistent with due process, “by which courts
    must fix sentences”. The rule applies to another
    law, i.e., the Sentencing Reform Act of 1984
    (“SRA”), which includes an identically-worded
    residual clause in the career offender guideline
    to fix sentences.

Roy, 282 F. Supp. 3d at 426-27 (internal citation omitted).

    The government, drawing from Beckles, contends that

Johnson II cannot apply to Boria’s petition because the

pre-Booker mandatory Sentencing Guidelines allowed a

sentencing judge to depart from the applicable range and so

did not “fix” sentences in the same “mandatory” sense as

the ACCA.   This argument was rejected by the First Circuit

in Moore and by this Court in Roy.

    First Circuit law accepts Boria’s argument that the

pre-Booker mandatory Sentencing Guidelines “fix” sentences

for purposes of Johnson II. Moore, 871 F.3d at 82 (“[A]

statute found to ‘bind[]’ in Booker necessarily ‘fix[es]’

under Johnson II.”); Roy, 282 F. Supp. 3d at 427.        In this

circuit, the limited instances in which a sentencing court

was permitted to depart from the pre-Booker mandatory

Sentencing Guidelines do not remove the pre-Booker

Sentencing Guidelines from the reach of Johnson II. Moore,

871 F. 3d at 83; see also United States v. Moore, No. 1:00-

10247-WGY-1, *6-7 (D. Mass. Nov. 14, 2018) (“We must always

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remember that the oxymoronic mandatory guidelines had the

force of law and that law was unconstitutional.”).

    Every session of this Court to consider the issue,

including this session in Roy, has held that the Career

Offender residual clause violates the Due Process Clause

under Johnson II. Roy, 282 F. Supp. 3d at 427-428 (Gorton,

J.); Reid v. United States, 252 F. Supp. 3d 63, 66-68 (D.

Mass. 2017) (Ponsor, J.); Moore, No. 1:00-10247-WGY-1, *6-7

(Young, J.).

    This Court declines the government’s invitation to

“realign its views” with the views of other circuits which

have already been rejected by the First Circuit. See Moore,

871 F. 3d at 81 (“[W]e find ourselves quite skeptical of

the government’s reliance on recent Eleventh Circuit

precedent to contend that the mandatory guidelines ‘did not

alter the statutory boundaries for sentences set by

Congress for the crime.’” (quoting In re Griffin, 823 F.3d

1350, 1355 (11th Cir. 2016)).

    The rule announced in Johnson II, as interpreted by

the First Circuit, renders the Career Offender residual

clause of the pre-Booker mandatory Sentencing Guidelines

violative of due process.    As a result, Boria’s petition

does not seek recognition of a new right but instead seeks

application of the right announced in Johnson II.

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                  b.    Retroactivity

        The government submits that even if Johnson II

recognized a right to challenge sentences imposed under the

pre-Booker mandatory Sentencing Guidelines, that right does

not apply retroactively to cases on collateral review

because it is a procedural rule rather than a substantive

one and is not a “watershed rule.”

       This Court rejected that precise argument in Roy. Roy,

282 F. Supp. 3d at 428.       Johnson II indisputably announced

the new rule that the ACCA residual clause violates due

process and was made retroactively applicable by Welch.

Johnson II, 135 S.Ct. at 2257; Welch, 136 S.Ct. at 1264.

Boria’s request to apply Johnson II to the identically-

worded Career Offender residual clause does not require the

Court to establish a new rule. See Roy, 282 F. Supp. 3d at

428.    Such a task requires only that the Court apply a

previously established rule of law to interpret a statute,

the SRA. Id. See also Moore, 871 F.3d at 81 (explaining

that the court was not required to “make new constitutional

law in order to hold that the pre-Booker SRA fixed

sentences”).

       Boria was sentenced in 2003 pursuant to the Career

Offender residual clause of the pre-Booker mandatory

Sentencing Guidelines.       Here, as in Roy, a “straightforward

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application” of Johnson II is appropriate. Id.

Accordingly, Boria’s petition is timely because 1) it

relies upon the rule announced in Johnson II and 2) that

rule applies retroactively to Boria’s petition on

collateral review.

         2.    Procedural Default

    The government separately contends that Boria’s

petition is procedurally defaulted because Boria failed to

raise his argument that the Career Offender residual clause

was unconstitutional at sentencing or on direct appeal.

    A federal prisoner procedurally defaults his § 2255

petition if he fails to present it to the trial court or

pursue it on direct appeal. Bucci v. United States, 662

F.3d 18, 29 (1st Cir. 2011).     Procedural default precludes

relief under § 2255 unless the defendant can demonstrate

“cause for having procedurally defaulted his claim” and

that the error resulted in “actual prejudice.” Id.        The

government argues only that Boria cannot demonstrate that

the sentence he received under the pre-Booker Career

Offender residual clause resulted in “actual prejudice.”

    To establish “actual prejudice” in excuse of procedural

default a petitioner must show a “reasonable probability” that

his sentence would have been different but for the alleged

error. Roy v. United States, 282 F. Supp. 3d 421, 429 (D. Mass.

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2017) (citing Wilder v. United States, 806 F.3d 652, 685 (1st

Cir. 2015).     The Court need not find that it would have

sentenced petitioner differently, only that there is a

reasonable probability of such a result. Roy, 282 F.Supp.3d at

429.

       Here, Boria must demonstrate that there is a

reasonable probability that the Court would have imposed a

different sentence if he had not been classified as a

career offender under the residual clause.          The government

submits that the Court would have imposed the same

sentence, emphasizing the Court’s determination that Boria

was a paradigmatic career offender whose conduct warranted

a sentence at the high end of the applicable Sentencing

Guidelines range.      The Court further recognized that the

Sentencing Commission took into account the seriousness of

Boria’s offense in combination with his extensive criminal

history in establishing the Career Offender enhancement.

Consequently, the government reasons, if Boria did not

qualify as a career offender, the Court would have been

inclined to depart upward and impose an equal sentence to

account for Boria’s extensive criminal history.

       Boria rejoins that resentencing him to 327 months without

the Career Offender enhancement would result in a significant

upward departure from the otherwise applicable Sentencing

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Guidelines range of 210-262 months.      Boria further contends that

at resentencing, Amendment 782 would apply.       Amendment 782

reduced the offense levels assigned in the Drug Quantity Table

by two levels and, by vote of the Sentencing Commission on July

18, 2014, applies retroactively to non-career offender

designation offenses. See United States v. Vaughn, 806 F.3d 640,

643 (1st Cir. 2015); United States v. Caraballo, 552 F.3d 6, 10

(1st Cir. 2008).   Although this Court previously rejected

Boria’s motion for a retroactive reduction of his sentence

pursuant to Amendment 782, the Court’s reasoning relied on the

preclusive effect of Boria’s career offender designation (Docket

No. 151).   In the absence of such a designation, the Court would

be inclined to reconsider its denial.      According to Boria, the

application of Amendment 782 would yield a Sentencing Guidelines

range of 160-210 months. See U.S.S.G. § 5A.

    Boria was sentenced in error pursuant to the

unconstitutionally vague pre-Booker Career Offender residual

clause. See Moore, 871 F.3d at 82; Roy, 282 F. Supp. 3d at 428.

This Court sentenced him to the high end of a range entailing

significantly longer periods of incarceration than would have

been applicable had the calculation been done without the

constitutional violation.    The government is correct that it is

unknown whether the Court would have departed upward in the

absence of the application of the Career Offender enhancement.

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Even so, there is at least a “reasonable probability” that Boria

would have been sentenced to some period of incarceration less

than 327 months after an upward departure from a significantly

lower guidelines range. Accordingly, Boria has demonstrated the

requisite prejudice to overcome his procedural default. See Roy,

282 F. Supp. 3d at 432 (citing Wilder v. United States, 806 F.3d

653, 658 (1st Cir. 2015).

    Boria has also demonstrated sufficient cause to overcome

his procedural default which the government does not dispute.

To demonstrate cause, a petitioner must show that the factual or

legal basis for his claim was not “reasonably available to

counsel” at the time of direct appeal. Reed v. Ross, 468 U.S. 1,

16 (1984).   When a petition is based on a change in the law, the

petitioner must show that the claim is sufficiently novel. Id.

It cannot be reasonably disputed that Johnson II represented a

“monumental shift” in the law that explicitly overruled prior

precedent. See Roy, 282 F. Supp. 3d at 429.       Boria’s claim based

on Johnson II is, therefore, sufficiently novel to establish

cause to excuse his procedural default.




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                                 ORDER


    For the foregoing reasons, Boria’s motion to correct

sentence pursuant to 28 U.S.C. § 2255 (Docket No. 159) is

ALLOWED.   A re-sentencing hearing will be scheduled promptly.




So ordered.



                                   /s/ Nathaniel M. Gorton
                                   Nathaniel M. Gorton
                                   United States District Judge



Dated December 9, 2019




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